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                             Exhibit 5
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                   Michael Gervais
                   Associate
                   Los Angeles
                   (310) 789-3130
                   mgervais@susmangodfrey.com



Overview

Michael Gervais is a skilled and accomplished trial lawyer who represents both plaintiffs and defendants in
all types of high stakes commercial litigation. Gervais has amassed an impressive collection of litigation
victories and favorable settlements for clients who vary from Fortune 500 industry leaders to classes of
unfairly treated plaintiffs in several national high profile lawsuits.


Gervais worked alongside Managing Partner, Neal Manne, Partner Lexie White, and Partner Joseph
Grinstein representing a class of indigent misdemeanor arrestees pro bono in a landmark case to
challenge the money bail scheme in Harris County, Texas. Along with Civil Rights Corps and the Texas
Fair Defense Project, Gervais’s work helped secure a sweeping preliminary injunction from a Houston
federal judge, who struck down Harris County, Texas’ money bail system. The decision focused national
attention on the countrywide practice of jailing poor people because they are unable to afford bail when
arrested for minor offenses and has been covered by national outlets such as The New York Times, The
Houston Chronicle, and Lawdragon.


In another high profile class action, Gervais worked alongside Partners Kalpana Srinivasan, Steven
Sklaver and Steve Morrissey representing Flo & Eddie, members of the 1960’s rock group The Turtles, in
addition to a class of copyright owners in a case against Sirius XM. In this landmark case it was
established under California law, that these owners of sound recordings from before 1972 have the
exclusive right to perform those recordings. Under a groundbreaking settlement, Sirius XM agreed to pay
at least $25.5 million (over $16 million after fees and expenses) and royalties under a 10-year license that
is valued up to $62 million (over $41 million after fees and expenses) as compensation for publicly
performing without a license Pre-1972 sound recordings. The settlement was approved by the Court, and
has received widespread media coverage from publications such as The New York Times, Billboard, The
Hollywood Reporter, Law360, Rolling Stone, Variety, Reuters and Managing IP.


Before joining Susman Godfrey, Gervais served as a clerk at both the Supreme Court of the United States
and in the Ninth Circuit U.S. Court of Appeals. These experiences have given him a unique perspective
and a valuable background that supports the success he brings his clients in federal, district and state
courts as well as in arbitration and at every level of litigation.


Admitted only in New York; not admitted in California.
Practicing under the supervision of the partnership of Susman Godfrey L.L.P.




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Education
Yale Law School (J.D.)
American University (B.A., International Studies, summa cum laude)




Judicial Clerkship

Law Clerk to the Honorable Stephen Breyer, Supreme Court of the United States


Law Clerk to the Honorable Alex Kozinski, United States Court of Appeals for the Ninth Circuit




Honors and Distinctions

Senior Editor, Yale Journal of International Law


Research Assistant to Professor W. Michael Reisman




Current Representations

ODonnell et al. v. Harris County, et al.


In this landmark constitutional case coming out of Harris County, Texas, Gervais was part of a team that
won a landmark ruling in 2017, and was later affirmed in 2018, by the U.S. Court of Appeals for the Fifth
Circuit, that the system of cash bail used in Harris County, Texas, violated the Due Process and Equal
Protection rights of the thousands of misdemeanor arrestees. Gervais served on this case pro bono and
was an active and critical part of the team leading up to and during trial.


PDVSA US Litigation Trust v. Lukoil Pan Americas LLC et al.


Along with Neal Manne, Alex Kaplan and Michael Kelso, Gervais is currently defending energy-trading
companies Vitol Inc. and Vitol S.A. against statutory claims brought by the PDVSA US Litigation Trust.




Previous Representations

Flo & Eddie v. Sirius XM


Gervais served on a team from Susman Godfrey that was co-lead counsel to Flo & Eddie (the founding
members of 70’s music group, The Turtles) along with a class of owners of pre-1972 sound recordings for
copyright violations by music provider Sirius XM. Flo & Eddie settled with Sirius XM on behalf of the
class in a deal worth up to $73 million and approved by the Court in May 2017.



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Professional Associations and Memberships

New York State Bar




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